Case 1:16-cv-01055-STA-egb Document 69 Filed 11/16/17 Page 1 of 3                 PageID 419



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

CESAR GALLARDO,
individuals on behalf of himself and
others similarly situated,
                                                          No. 1:16-cv-01055
              Plaintiffs,

v.

LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                          JURY DEMAND
                                                          FLSA COLLECTIVE ACTION
            Defendants.
______________________________________________________________________________

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

       COME NOW the parties, through their respective counsel, and hereby stipulate that all

matters in controversy between or among themselves in this action have been fully resolved;

therefore, the above-captioned matter should be dismissed with prejudice pursuant to Rule 41 of

the Federal Rules of Civil procedure.

                                                   Jointly Submitted By:


                                                   s/ J. Larry Stine
                                                   J. LARRY STINE
                                                   GA Bar No. 682555
                                                   WIMBERLY, LAWSON, STECKEL,
                                                   SCHNEIDER & STINE, P.C.
                                                   Suite 400, Lenox Towers
                                                   3400 Peachtree Road, N.E.
                                                   Atlanta, GA, 30326
                                                   Phone: (404) 365-0900
                                                   Fax: (404) 261-3707
                                                   jls@wimlaw.com
Case 1:16-cv-01055-STA-egb Document 69 Filed 11/16/17 Page 2 of 3       PageID 420



                                         Albert J. Bolet, III
                                         GA Bar No.: 065785
                                         GOICO & BOLET, P.C.
                                         2021 North Druid Hills Road, N.E.
                                         Suite 200
                                         Brookhaven, Georgia 30329
                                         Phone: (404) 320-3456
                                         Fax: (404) 320-3026
                                         abolet@goicoboley.com

                                         Attorneys for Defendants

                                         &

                                         GILBERT McWHERTER
                                         SCOTT & BOBBITT PLC

                                         s/ Emily S. Alcorn
                                         EMILY S. ALCORN #33281
                                         341 Cool Springs Blvd., Suite 230
                                         Franklin, Tennessee 37067
                                         Telephone: (615) 354-1144
                                         Facsimile: (731) 664-1540
                                         eemmons@gilbertfirm.com

                                         CLINTON H. SCOTT #23008
                                         101 North Highland
                                         Jackson, Tennessee 38301
                                         Telephone: (731) 664-1340
                                         Facsimile: (731) 664-1540
                                         cscott@gilbertfirm.com

                                         ATTORNEYS FOR PLAINTIFF
Case 1:16-cv-01055-STA-egb Document 69 Filed 11/16/17 Page 3 of 3                PageID 421



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

CESAR GALLARDO,
individuals on behalf of himself and
others similarly situated,
                                                         No. 1:16-cv-01055
              Plaintiffs,

v.

LOS PORTALES BOLIVAR LLC,
LOS PORTALES HENDERSON LLC,
and TOMAS LEON, and ROY SALVADOR                         JURY DEMAND
                                                         FLSA COLLECTIVE ACTION
            Defendants.
______________________________________________________________________________

                          CERTIFICATE OF SERVICE
______________________________________________________________________________


     I hereby certify that a true copy of JOINT STIPULATION OF DISMISSAL WITH
PREJUDICE was sent via electronic mail through the Court’s ECF system on this the 16th day of
November, 2017, to the following:

                                Emily S. Alcorn
                                Clinton H. Scott
                     GILBERT MCWHERTER SCOTT BOBBITT, PLC


                                                  s/ J. Larry Stine
                                                  J. LARRY STINE
                                                  GA Bar No. 682555
                                                  WIMBERLY, LAWSON, STECKEL,
                                                  SCHNEIDER & STINE, P.C.
                                                  Suite 400, Lenox Towers
                                                  3400 Peachtree Road, N.E.
                                                  Atlanta, GA, 30326
                                                  Phone: (404) 365-0900
                                                  Fax: (404) 261-3707
                                                  jls@wimlaw.com
